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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     KAMALJIT BILLEN
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 2:15-CR-00015GEB
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) STIPULATION AND PROPOSED ORDER
                                                       ) TO CONTINUE STATUS CONFERENCE
12          vs.                                        )
                                                       )
13   KAMALJIT BILLEN,                                  )
                                                       )
14                   Defendant                         )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   GARLAND E. BURELL, JR AND PAUL HEMESATH, ASSISTANT UNITED STATES
17   ATTORNEY:
18          COMES NOW Defendant, KAMALJIT BILLEN, by and through his attorney of record,
19   DAVID A. TORRES hereby requesting that the Status Conference currently set for Friday, April
20   1, 2016 be continued to Friday, April 22, 2016.
21          I am currently engaged in trial in the matter of People v. Castro; BF165926A, in Kern
22   County Superior Court, before the Honorable Kenneth Twisselman. Mr. Castro is charged with
23   second degree murder. Trial is anticipated to last until May 13, 2016. However, the court will
24   be dark from April 11, 2016 through April 22, 2016. I will be in Washington D.C. from April
25   11. 2016 through April 15, 2016 on business on behalf of the California State Bar, Committee of



                  Stipulation and Proposed Order to Continue Status Conference

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 1   Bar Examiners. I am requesting that this matter be continued to Friday, April 22, 2016, for a

 2   change of plea. I have spoken to AUSA Paul Hemesath, and he has no objection to continuing

 3   the status conference.

 4           The parties also agree the delays resulting from the continuance shall be excluded in the

 5   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

 6   //

 7   //

 8           IT IS SO STIPULATED.

 9                                                                Respectfully Submitted,

10   DATED: 3/29/16                                               /s/ David A Torres          ___
                                                                  DAVID A. TORRES
11                                                                Attorney for Defendant
                                                                  KAMALJIT BILLEN
12

13
     DATED: 3/29/16                                               /s/Paul Hemesath _______
14                                                                PUAL HEMESATH
                                                                  Assistant U.S. Attorney
15

16
                                                 ORDER
17

18
             The Status Conference hearing is rescheduled to commence at 9:00 a.m. on April 22,
19
     2016.
20
             Dated: March 30, 2016
21

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                Stipulation and Proposed Order to Continue Status Conference

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